                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                           CIVIL ACTION NO.: 7:20-cv-75-M


 MARKEL AMERICAN INSURANCE
 COMPANY a/s/o NATIONAL FOOTBALL
 LEAGUE

                Plaintiff,                               MEMORANDUM OF LAW IN
                                                      SUPPORT OF CGS PREMIER, INC.’S
     v.                                               MOTION TO DISMISS DEFENDANT
                                                        POMP’S TIRE SERVICE, INC.’s
 XDS, LLC; CGS PREMIER, INC.;                          CROSS-CLAIM FOR INDEMNITY
 BLACK’S TIRE SERVICE, INC.; and
 POMP’S TIRE SERVICE, INC.

                Defendants.



          Defendant CGS Premier, Inc. (hereinafter         “Defendant CGS”) hereby submits its

Memorandum of Law in Support of its Motion to Dismiss Defendant Pomp’s Tire Service, Inc.’s

Cross-Claim for indemnity pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                   FACTUAL BACKGROUND

          Markel American Insurance Company’s (hereinafter “Markel”) insured, the National

Football League (hereinafter “NFL”) contracted with Defendant XDS, LLC for the design and

build of a trailer. [D.E. 1, ¶ 10]. In its Complaint, Markel alleges Defendant CGS, Defendant XDS,

LLC Defendant Pomp’s Tire Service, Inc. manufactured, assembled, and/or built the trailer. [D.E.

1, ¶¶ 10-13]. Markel alleges on October 6, 2017, Defendant Black’s Tire Service, Inc. replaced

two tires on the front left axel of the trailer. [D.E. 1, ¶ 15]. Markel alleges on October 7, 2017, the

trailer caught on fire at the left axel of the trailer, damaging the trailer. [D.E. 1, ¶ 16]. Markel

alleges, without any factual detail, that the fire “was caused by the negligent and careless acts

and/or omissions of Defendants in their assembling, designing, fabrication, manufacturing,



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warranting, servicing, inspecting, and maintaining” the trailer. [D.E. 1, ¶ 17]. As a result of the

fire, Markel alleges it made payments to the NFL in excess of $75,000.00. [D.E. 1, ¶ 19]. Markel

filed a Complaint seeking subrogation from the Defendants for its losses sustained in the fire. [D.E.

1, ¶ 20].

         In its Answer, Defendant Pomp’s Tire Service, Inc. asserted Cross-Claims against

Defendant CGS for contribution and common law indemnity. [D.E. 21, ¶¶ 1-2 of Cross-Claim]

                                    STANDARD OF REVIEW

         In order to survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). To

be plausible on its face, a complaint must show more than “a sheer possibility that a defendant has

acted unlawfully.” Id. “A pleading that offers labels and conclusions or a formulaic recitation of

the elements of a cause of action” does not suffice. Id. “In considering a motion to dismiss, the

court should accept as true all well-pleaded allegations and should view the complaint in the light

most favorable to the plaintiff.” Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993).

However, a court is “not bound to accept as true a legal conclusion couched as a factual allegation.”

Papasan v. Allain, 478 U.S. 265, 286 (1986).

                                            ARGUMENT

    I.      DEFENDANT POMP’S TIRE SERVICE, INC.’S CROSS-CLAIM FOR
            COMMON LAW INDEMNITY SHOULD BE DISMISSED FOR FAILURE TO
            STATE A CLAIM UPON WHICH RELIEF CAN BE GREANTED.
         In its Cross-Claim, Defendant Pomp’s Tire Service, Inc. seeks to recover from Defendant

CGS under a theory of common law indemnity. For the reasons set forth below, this Court should

enter an Order granting Defendant CGS’s Motion to Dismiss pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure.

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       “There exists in North Carolina a common law right to indemnification for a passively

negligent tort-feasor from an actively negligent tort-feasor, for injuries caused to third parties.”

Kaleel Builders, Inc. v. Ashby, 161 N.C.App. 34, 41, 587 S.E.2d 470, 475 (2003). In explaining the

relationship between the tort-feasors, our Supreme Court stated:

       Primary and secondary liability between defendants exists only when: (1) they are
       jointly and severally liable to the plaintiff; and (2) either (a) one has been passively
       negligent but is exposed to liability through the active negligence of the other or (b)
       one alone has done the act which produced the injury but the other is derivatively
       liable for the negligence of the former.

Edwards v. Hamill, 262 N.C. 528, 531, 138 S.E.2d 151, 153 (1964)(emphasis added).

       “The party seeking indemnity must have imputed or derivative liability for the tortious

conduct from which indemnity is sought.” Kaleel Builders at 41, 587 S.E.2d at 475. “Thus, to

successfully assert a right to indemnity based on a contract implied-in-law, a party must be able to

prove each of the elements of an underlying tort such as negligence.” Schenkel & Shultz, Inc. v.

Hermon F. Fox & Associates, P.C., 180 N.C.App. 257, 268, 636 S.E.2d 835, 843 (1996).

       Defendant Pomp’s Tire Service, Inc.’s Cross-Claim fails to allege any facts to prove the

underlying elements of negligence by Defendant CGS. Defendant Pomp’s Tire Service, Inc.

conclusively cites to the Complaint’s allegations of negligence by Defendant CGS as the basis for

its common law indemnity claim without facts to support this allegation. Defendant CGS moved

to dismiss plaintiff’s claims for violation of the Iqbal and Twombly mandates. [D.E. 17].

Defendant CGS incorporates by reference the arguments made in support of that Motion herein.

[D.E. 17]. Additionally, Defendant Pomp’s Tire Service, Inc. fails to allege the elements of

negligence as required by Schenkel & Shultz, Inc. Merely stating a party is negligent is insufficient

to plead a negligence claim under Iqbal and Twombly. As a result, Defendant CGS’s Motion to




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Dismiss Defendant Pomp’s Tire Service, Inc.’s Cross-Claim for common law indemnity should

be granted.

                                         CONCLUSION

       A plain reading of the Cross-Claim and applicable North Carolina law makes it clear that

Defendant Pomp’s Tire Service, Inc.’s claim for indemnity from Defendant CGS lacks a factual

and legal basis. Therefore Defendant CGS’s Motion to Dismiss should be granted.

       This the 3rd day of June, 2020.

                             TEAGUE CAMPBELL DENNIS & GORHAM, LLP


                             By: /s/ J. Matthew Little
                                     J. Matthew Little
                                     NC State Bar No.: 20032
                                     mlittle@teaguecampell.com
                                     Patrick J. Scott
                                     NC State Bar No.: 54985
                                     pscott@teaguecampbell.com
                                     Post Office Box 19207
                                     Raleigh, North Carolina 27619-9207
                                     Telephone: (919) 873-0166
                                     Facsimile: (919) 873-1814
                             Attorneys for Defendant CGS Premier, Inc.




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                             CERTIFICATE OF WORD COUNT

       Pursuant to Local Rule 7.2(f), I hereby certify that the foregoing Document contains 893

words, excluding the parts of the document that are exempted by Local Rule 7.2(f). This certificate

was prepared in reliance on the word-count function of the word processing software (Microsoft

Word) used to prepare this Document.

       This the 3rd day of June, 2020.

                                  TEAGUE, CAMPBELL, DENNIS & GORHAM, L.L.P.

                              BY:     /s/ J. Matthew Little
                                         J. Matthew Little




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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing was electronically filed with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

       David M. Fothergill
       Michael C. Gruman
       Yates, McLamb & Weyher, LLP
       Post Office Box 2889
       Raleigh, North Carolina, 27602
       dfothergill@ymwlaw.com
       mgruman@ymwlaw.com

       F. William DeVore, IV
       DeVore, Acton & Stafford, PA
       438 Queens Road
       Charlotte, NC 28207
       wdevore@devact.com

       Michael Wallace
       Stutman Law
       20 East Taunton Road, Suite 403
       Berlin, New Jersey 08009
       wallacem@stutmanlaw.com

       David M. Harmon
       Vernis & Bowling
       4601 Park Road, Suite 580
       Charlotte, NC 28209
       dharmon@ncarolina-law.com


       This the 3rd day of June, 2020.

                              TEAGUE CAMPBELL DENNIS & GORHAM, LLP


                              By: /s/ J. Matthew Little
                                      J. Matthew Little




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